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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Southern Division)

GLADYS LAMPKINS                               :
1720 Corcoran Street, Apt. 73                 :
Washington, DC 20002                          :

               Plaintiff                      :

       v.                                     :      Civil Action No. AW 12-cv-3419

RAMAN TULI, M.D., et al.                      :
10818 Darnestown Road, Suite 202              :
Gaithersburg, Maryland 20878                  :

               Defendants                     :

   STIPULATION OF DISMISSAL OF DEFENDANTS RAMAN TULI, M.D. AND
              RAMAN TULI, M.D., P.C., WITH PREJUDICE

       Come now the parties, Plaintiff Gladys Lampkins and Defendants Raman Tuli, M.D.

and Raman Tuli, MD, PC, by and through their undersigned counsel, and pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate and voluntarily agree that all claims,

actions and causes of action against Defendants Raman Tuli, M.D. and Raman Tuli, M.D.,

P.C., shall be DISMISSED WITH PREJUDICE.

       It is so stipulated this 23rd day of December, 2014.



DUGAN, BABIJ & TOLLEY, LLC                        ARMSTRONG, DONOHUE, CEPPOS,
                                                  VAUGHAN & RHOADES, CHARTERED

   /s/ Alison D. Kohler, Esquire                         /s/ Jon Eric Rhoades, Esquire
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                                                  Raman Tuli, M.D., P.C.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of December, 2014, a copy of the foregoing was
electronically filed and sent via email to:

Henry E. Dugan, Jr., Esquire #01320
Allison D. Kohler, Esquire #01277
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Timonium, Maryland 20192


                                              /s/ Jon Eric Rhoades
                                            Jon Eric Rhoades, Esquire #12605
